Case 2:19-cr-00877-CCC Document 260-1 Filed 09/21/22 Page 1 of 2 PageID: 3993




UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
--------------------------------------------------------- X
                                                          :
UNITED STATES OF AMERICA,
                                                          :
                  -against-                                 Crim. No. 2:19-cr-877-CCC
                                                          :
MATTHEW BRENT GOETTSCHE,
RUSS MEDLIN,                                              :
JOBADIAH SINCLAIR WEEKS,
JOSEPH FRANK ABEL, and                                    :
SILVIU CATALIN BALACI
                                                          :
                           Defendants.
--------------------------------------------------------- X
         [Proposed] Order Granting Motion to Modify Conditions of Pretrial Release

       Defendant Matthew Brent Goettsche’s motion to modify the conditions of his pretrial

release is GRANTED, and the conditions of his pretrial release are modified as follows:


       1.      Mr. Goettsche’s home incarceration is changed to a curfew between 6:00 p.m. to

8:00 a.m. Mountain Time with the added condition that he must be accompanied by a third-party

custodian if he leaves the residence between 8:00 a.m. and 6:00 p.m. for events within the state of

Colorado and pre-approved by Pretrial Services.

       2.      The requirement for Mr. Goettsche to be in the presence of a third-party custodian

(i.e., his wife, mother, or mother-in-law) at all times is hereby eliminated, except when Mr.

Goettsche leaves his residence between 8:00 a.m. and 6:00 p.m. as approved by Pretrial Services.

The responsibilities of each of the third-party custodians to the Court otherwise remain unchanged.

       3.      Mr. Goettsche is permitted to use the internet and a computer without supervision

of counsel. Any computer will be subject to Pretrial Services inspection at any time. Mr.

Goettsche is expressly prohibited from accessing or moving any form of cryptocurrency.
Case 2:19-cr-00877-CCC Document 260-1 Filed 09/21/22 Page 2 of 2 PageID: 3994




         4.     All rental income currently in escrow, and all future rental income, from the

following two properties is released from the escrow obligation: 2990 Pennsylvania Ave. Boulder,

CO 80303; 2855 Blue Sky Circle, Unit 3-103, Erie, CO 80516.

         It is further ordered, pursuant to Rule 502 of the Federal Rules of Evidence, that any

disclosure of attorney-client communications to Pretrial Services as a result of the internet

monitoring ordered above will not operate as a waiver of any applicable privileges or protections

in this litigation or any other federal, state, or other proceeding.

         It is further ordered that the above conditions of release are in addition to, and not in

place of, the conditions previously set forth by this Court.



SO ORDERED.

Dated:

____________________________
Hon. Michael A. Hammer
United States Magistrate Judge




                                                   2
